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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PUBLIC INTEREST LEGAL FOUNDATION,                    :     1:20-cv-1905
         Plaintiff,                                  :
                                                     :
                          v.                         :     Hon. John E. Jones III
                                                     :
KATHY BOOCKVAR, Secretary of the                     :
Commonwealth of Pennsylvania, in her                 :
official capacity                                    :
             Defendant.                              :


                                      ORDER

                                 October 16, 2020

      We are in receipt of Plaintiff’s Motion for Preliminary Injunction, (Doc. 4),

and shall schedule a hearing and argument in this matter for Monday, October 19,

2020 at 1:30 p.m. This hearing shall be conducted via Web-Ex, and this Court’s

Deputy Clerk shall provide counsel for the parties and any witnesses they have

identified to the Court with an email invitation prior to the scheduled time for the

hearing.



                                              s/ John E. Jones III
                                              John E. Jones III, Chief Judge
                                              United States District Court
                                              Middle District of Pennsylvania
